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UNITED STA TES DISTRICT COURT “""`D i`" *--~ -
WESTERN DISTRICT OF TENNESSEE§ smsz m 3¢ 15
WESTERN DIVISION b _ _ wm
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SH.AN A`RNOLD \TUDGMENT IN A CIVIL CASE
V.
YOUNG WOMEN'S CHRISTIAN CASE NO: 04-2456-D

ASSOCIATION OF MEMPHIS, TENNESSEE
and MAR'Y COLE NICI'IOLS

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been Considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Consent
Order of Dismissal With Prejudice entered on May 23, 2005, this
cause is hereby dismissed with prejudice.

APPROVED :

 

RNICE B. DONALD
UNITED STATES DISTRICT CO_URT

W MJ/, FW~S/

Date“ ¢7 Clerk of Court

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DISTRIT COURT - WESTENR ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
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Honorable Bernice Donald
US DISTRICT COURT

